     Case 2:13-cr-00008-WFN     ECF No. 1326    filed 08/28/13   PageID.4773 Page 1 of 1




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 2
 3                        UNITED STATES DISTRICT COURT
 4                      EASTERN DISTRICT OF WASHINGTON
 5
 6 UNITED STATES OF AMERICA,                       No. CR-13-008-WFN-55

 7                     Plaintiff,                  ORDER MODIFYING
 8                                                 DEFENDANT’S CONDITIONS
     vs.                                           OF RELEASE
 9
10 ANTOINETTE ARTHENA GAMBOA
   SANCHEZ,
11
12                     Defendant.
13         Pretrial Services has requested Defendant’s release conditions, as set forth in
14   the Central District of California, and modified in this District, be amended to
15   include:
16         1.    The Defendant shall participate in a mental health evaluation and any
17   recommended treatment, if ordered by a U.S. Probation/Pretrial Services Officer.
18         Defense counsel and the Assistant United States Attorney do not oppose this
19   modification.
20         IT IS SO ORDERED.
21         DATED August 28, 2013.
22
23                            S/ CYNTHIA IMBROGNO
                        UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
